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UNITED STATES DISTRICT COURT 05406., 22\50
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-v~ Case No. l:050r10063-001T

HAROLD EUGENE HUNTER

 

ORDER SETT|NG UH[GHVAL

COND|TIONS OF RELEASE

IT IS ORDERED that the release ofthe defendant is subject to the following conditions and provisions.'

[l) 'l`he defendant shall not commit any offense in violation offederal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number
(3) The defendant shall appear at ail proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignrnent in the United States Courthouse and
Federal Building in Coui‘trooin 407 on l\/[onday, 08/29/05, at 10:45 a.m..

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
colnmunity, it is FURTHER ORDERED that the release ofthe defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount 01`320,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount ofmoney to be deposited into the registry of the Court: $2,000.

0 report as directed by the Prctrial Services Office.

ADV|CE OF PENALTIES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation ofany ofthe foregoing conditions ol`release may result in the immediate issuance ofa warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

This document entered on the dockets a 1 compllance
with Hu|e 55 Aqu!l?rtj Yrr@gttf:§£ndpni?ngo eeas O _1_

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The commission ofa Federal offense while on pretrial release may result in an additional sentence to a term
ol"imprisonment of not more than ten years1 if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentencel

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

lf` after release1 you knowingly fail to appear as required by the conditions of release1 or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed lf you are convicted of'.

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than 3250,000 or imprisoned not more than five years, or both;

(3) any other feiony, you shall be fined not more than 3250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $ l 00,(}()0 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDG|V|ENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that l am aware of the conditions of release l promise
to obey all conditions ofrelease, to appear as directed and to surrender for service of any sentence imposed [ arn aware

of the penalties and sanctions set forth above.

Signatuie of Defendant

Harold Eugene Hunter
12216 Hwy. 76 S.
Stanton, TN 38069
731-548-6458

D|RECT|ONS TO THE UNITED STATES N|ARSHAL

E The defendant is ORDERED released after processing

E The United States marshal is ORDERED to keep the defendant in custody untii notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for releasel The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

, 7 f'“”""
Date.' August19,2005 §§ /hCW/ffd /66\%[’/(/)“_)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

AO 199»°\ Order Setting Conditions of Re|ease -2~

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10063 was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed

 

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

